          Case 2:19-cv-00245-DB Document 12 Filed 03/13/20 Page 1 of 2




             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 STEPHAN SCHURMANN,
        Plaintiff,                                      ORDER ADOPTING REPORT &
                                                           RECOMMENDATION


                  vs.


 BRADLEY CARR, JONATHAN LINK                                   Case No. 2:19-cv-245
 TEDRICK, and JUBILIE ANQUI-
 TEDRICK,                                                        Judge Dee Benson
        Defendants.                                  Chief Magistrate Judge Paul M. Warner




       Before the court is the Report and Recommendation issued by United States Magistrate

Judge Paul M. Warner on February 24, 2020, recommending that this court dismiss this action

with prejudice.

       The parties were notified of their right to file objections to the Report and

Recommendation within fourteen (14) days after receiving it. The court did not receive any

objections to the to the Report and Recommendation. Having reviewed all relevant materials,

including the record that was before the magistrate judge and the reasoning set forth in the

magistrate judge’s Report and Recommendation, the court adopts the Report and

Recommendation in its entirety.


                                                 1
         Case 2:19-cv-00245-DB Document 12 Filed 03/13/20 Page 2 of 2




       Accordingly, the court issues the following Order. Defendants’ motions to dismiss are

GRANTED. Plaintiff’s claims are DISMISSED with prejudice, and Defendants’ countermotion

for sanctions is DENIED. All of Plaintiff’s pending motions are MOOT.



       DATED this 13th day of March, 2020.




                                           _________________________________
                                           Dee Benson
                                           United States District Judge




                                              2
